Case 5:97-cr-00003-LGW-BWC Document 2103 Filed 02/06/13 Page 1 of 2

                                                                 F1LRQ

           IN THE UNITED STATES DISTRICT COURT FOR
              THE SOUTHERN DISTRICT OF GEORGIA
                      WAYCROSS DIVISION
                                                           J3FEa - 6   r. . çi   -•

CHRISTOPHER GRN,                                      fl 1. ER

     Petitioner,

V.                                         CASE NO. CV512-124

UNITED STATES OF AMERICA,

     Respondent.


                            ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 5), to which objections have been

filed (Doc. 7). After a careful de novo review of the

record, the Court finds Petitioner's objections without

merit. Accordingly, the report and recommendation is

ADOPTED   as the Court's opinion in this case, and the 28

U.S.C. § 2255 Petition is DISMISSED.       The Clerk of Court is

DIRECTED to close this case.

     Pursuant to 28 U.S.C. § 2253(c), an appeal may not be

taken in certain matters unless the Court issues a

certificate of appealability. This certificate may issue

only if Petitioner has made a substantial showing of the

denial of a constitutional right.         Slack v. McDaniel, 529

U.S. 473, 484 (2000) .       After careful consideration, the

Court finds no issues in this case that merit a Certificate
Case 5:97-cr-00003-LGW-BWC Document 2103 Filed 02/06/13 Page 2 of 2



of Appealability. As a result, any request for leave to

appeal in forma pauperis must be DISMISSED AS MOOT.
                          ''   4'

     SO ORDERED this ( - day of February 2013.




                                     WILLIAM T. MOORE, JRjV
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA




                                    Oil
